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NIH DIRECTOR’S MESSAGE
In 2015, the Sexual & Gender Minority Research Office (SGMRO) was
established to expand the National Institutes of Health (NIH) research
activities in sexual and gender minority (SGM) populations, remove
related systemic barriers, encourage a robust and engaged SGM re-
search workforce, and evaluate progress made on the goals of the
NIH FY 2016–2020 Strategic Plan to Advance Research on the Health
and Well-being of Sexual and Gender Minorities. Since its inception,
the SGMRO has worked diligently with NIH’s Institutes, Centers, and
Offices to pursue the goals of this plan.

I am proud to say that in the past 5 years, the NIH has made signifi-       Francis S. Collins, M.D., Ph.D.
cant strides across all of the goal areas. Some examples include an
increase in the number of funded research projects related to SGM health, the official designation of
SGMs as a health disparity population for NIH research purposes, and the hosting of several scien-
tific workshops to identify research opportunities in understudied groups and topics. Additionally, we
have supported new and early investigators to help build a stronger SGM health research workforce.

Although much progress has been made, we still have much more work to do in ensuring equitable
representation and inclusion of SGM populations in research and related activities at the agency, and
many questions remain across various health domains for SGMs. Challenges remain in the collection
and analysis of sexual orientation and gender identity (SOGI) data. In addition, the developing scien-
tific workforce dedicated to SGM health and research requires further fortification and diversification.

To address these issues, the SGMRO led the development of this NIH FY 2021–2025 Strategic Plan
to Advance Research on the Health and Well-being of Sexual and Gender Minorities. This NIH-wide
effort presents scientific themes and operational goals and objectives that seek to enhance our
grasp of SGM health and health outcomes, augment SOGI data collection for research and admin-
istrative activities, and foster a growing scientific workforce in this space.

As we embark on this new strategic plan, I am optimistic that our efforts will yield a deeper appreciation
and understanding of SGM health disparities and, ultimately, will improve the health and well-being of
SGM individuals across the nation.




Francis S. Collins, M.D., Ph.D.
Director, National Institutes of Health




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SGMRO DIRECTOR’S MESSAGE
During the past 5 years, I am proud to say, the Sexual & Gender Mi-
nority Research Office (SGMRO) and the National Institutes of Health
(NIH) as a whole have made significant progress in developing initia-
tives and increasing research activities to benefit sexual and gender
minority (SGM) populations. Despite the hard work of many committed
scholars and investigators, I am keenly aware that we must remain
resolute in our commitment to advancing SGM health and research.

The NIH FY 2021–2025 Strategic Plan to Advance Research on the
Health and Well-being of Sexual and Gender Minorities builds upon
the foundation of the previous NIH SGM Research Strategic Plan, pre-       Karen L. Parker, Ph.D., M.S.W.
senting scientific themes and operational goals and objectives that
aim to enhance the agency’s SGM-related research and data collection efforts, while also supporting
a diverse scientific workforce devoted to improving our understanding of the health of SGM commu-
nities. The SGMRO, in collaboration with the NIH-wide SGM Research Coordinating Committee, is
dedicated to implementing this plan throughout the NIH.

I am confident that over the next 5 years, the agency will see unprecedented growth in the number
of both SGM-related research projects funded and investigators focusing on SGM health-related
research. I anticipate seeing widespread data collection efforts that seek to identify SGM populations
and answer both scientific and workforce-related questions. It is my sincere hope that everyone,
regardless of their personal identities, feels accepted and welcome at this agency.

As we work to implement this new strategic plan, I am excited for the progress that we will undoubt-
edly make across our agency and beyond.

My sincere thanks to all the individuals who contributed to the development of this strategic plan.
Your contributions have proved invaluable.




Karen L. Parker, Ph.D., M.S.W.
Director, SGMRO




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ROLE OF THE SEXUAL & GENDER MINORITY
RESEARCH OFFICE
The National Institutes of Health (NIH) established the Sexual & Gender Minority Research Office
(SGMRO) in September 2015. The SGMRO is part of the NIH’s Division of Program Coordination,
Planning, and Strategic Initiatives (DPCPSI) in the Office of the Director.

The SGMRO coordinates sexual and gender minority (SGM) research and related activities by
working with the NIH Institutes, Centers, and Offices (ICOs). SGM populations include, but are not
limited to, individuals who identify as lesbian, gay, bisexual, asexual, transgender, Two-Spirit, queer,
and/or intersex. Individuals with same-sex or -gender attractions or behaviors and those with a
difference in sex development also are included. These populations also encompass those who do
not self-identify with one of these terms but whose sexual orientation, gender identity or expression,
or reproductive development is characterized by non-binary constructs of sexual orientation, gender,
and/or sex. The NIH adopted the term “SGM” to be fully inclusive of these diverse populations,
whose health is understudied and whose health concerns may or may not be similar to one another.

In October 2016, the director of the National Institute on Minority Health and Health Disparities
(NIMHD), NIH, in collaboration with the director of the Agency for Healthcare Research and Quality
(AHRQ), in accordance with Public Law 106-525, formally designated SGMs as a health disparity
population for NIH research purposes. This is an agencywide designation meant to promote re-
search on the health disparities faced by many members of the SGM community.

The role of the SGMRO includes the following activities:

   •   Coordinate SGM health research activities across the NIH.
   •   Represent the NIH at conferences and events focused on SGM research.
   •   Serve as a resource for the extramural and NIH communities on SGM-related research
       activities.
   •   Connect extramural researchers with key NIH contacts.
   •   Convene conferences and workshops to inform priority setting and research activities.
   •   Collaborate with NIH ICOs on the development of SGM health research reports.
   •   Manage information dissemination related to SGM research.
   •   Leverage resources and develop initiatives to support SGM health research.

The SGMRO does not have grant-making authority, but it serves as a liaison with the research com-
munity and coordinates with all the ICOs to ensure SGM populations are considered and represent-
ed in research activities across the agency.




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OVERALL STRATEGIC PRIORITIES ACROSS THE
RESEARCH CONTINUUM
Section 404N of the 21st Century Cures Act (Public Law 114-255), signed into law on December 13,
2016, calls upon the director of the NIH to encourage efforts to improve research related to the health
of SGM populations.

Those provisions are summarized as follows:


    “




In addition, the 21st Century Cures Act requires the NIH to update its strategic plans regularly. This
strategic plan establishes NIH’s broad goals in SGM health research for the next 5 years and will
serve as a roadmap for the SGMRO in leading the plan’s implementation and monitoring of progress.



STRATEGIC PLANNING PROCESS
In June 2019, the SGMRO launched a process to develop the fiscal year (FY) 2021–2025 strategic
plan with the aim of developing scientific themes and operational goals that are transparent, focused
on science, guided by evidence, and informed by SGMRO’s stakeholders.

SGMRO staff were engaged throughout the strategic planning process to provide their perspectives
on the critical characteristics that guide activities in the SGMRO. The SGMRO also established an
internal Strategic Planning Subcommittee that informed the early phases of the strategic planning
effort and contributed to the development and analysis of the internal survey created to gather input
from the NIH community.




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The following process was undertaken during the development of the strategic plan to gather input
on the scientific themes and operational goals and on the process of drafting the plan. A timeline is
provided in the Appendix.

    •   Internal NIH-wide survey
    •   Council of Councils SGM Research Working Group feedback
    •   NIH SGM Research Coordinating Committee feedback
    •   Public comments from the Request for Information and listening session
    •   Council of Councils feedback
    •   NIH DPCPSI, ICO, and Office of the Director leadership review

SGMRO staff synthesized the feedback from internal and external stakeholders and revised the sci-
entific themes and operational goals accordingly. Once the strategic plan was drafted, feedback was
solicited from the Council of Councils SGM Research Working Group, the SGM Research Coordi-
nating Committee, DPCPSI senior leadership, and NIH senior leadership. The SGMRO presented the
FY 2021–2025 Strategic Plan to the Council of Councils for review and approval at an open session
in May 2020, and the plan was released to the public in September 2020.



OVERARCHING CONSIDERATIONS
Myriad individual, interpersonal, social, and structural factors can have significant, complex, and in-
teracting effects on the health and well-being of SGM populations. SGM individuals may identify as a
member of one or several SGM groups and/or be living in one or several different circumstances at
any given time. These factors, which are a part of the lives and health of every person, provide critical
contextual information and are essential to consider in order to produce research that is maximally
informative, germane, appropriate, effective, and implementable within the SGM community. Ne-
glecting any of these factors may diminish the ultimate efficacy of research projects for specific SGM
subpopulations. Key examples of these overarching considerations for SGM research are presented
below. They should be incorporated into the pursuit of each of the scientific themes and operational
goals presented in this strategic plan whenever applicable and appropriate.

Intersectionality
When tackling SGM health research questions, it is imperative to take into consideration intersection-
ality, which recognizes interlocking and interdependent systems of oppression or support across dif-
ferent social categories and how they may result in unique health inequities. Examples of such cate-
gories may include ability status (physical, hearing, and intellectual), age, race, ethnicity, incarceration
status, veteran status, income level, English language proficiency, geographical location, and HIV
status. SGM individuals may encounter SGM-specific health inequities, as well as inequities stem-
ming from other facets of their identity. For example, an American Indian/Alaska Native person with
a disability who identifies as Two-Spirit may face unique health issues or barriers across three facets



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of their identity: race, ability status, and gender identity. An intersectional approach recognizes that
these individual categories and systems interact and cannot be understood independently. There-
fore, these inequities may yield a distinct effect on that individual’s health outcomes. The elements
of socioeconomic status (e.g., education, income, occupation) also can individually or collectively
impinge on many aspects of health for SGMs. SGM individuals who engage in sex work often are
exposed to situations that threaten their health and safety, and this may be exacerbated in countries
that are not accepting of SGMs. Indeed, geographical location is another important health consider-
ation for many SGMs. For example, SGM populations in rural areas may have fewer SGM-inclusive
medical services and/or other resources available to them. International studies also can identify
policy and cultural best practices and lessons learned that affect the health status of SGMs.

Life Situations
Life events and situations can have numerous unique effects on the health and well-being of
SGMs. Military service has been associated with distinct health challenges, and although the
body of literature devoted to the health issues of SGM veterans is growing, the need to better
understand these issues is ongoing. The health impact of homelessness on SGM populations
also remains poorly understood, and SGM individuals who go through the foster care system are
currently underrepresented in health research. Although the health of immigrant communities has
been the focus of more research recently, the specific health outcomes of SGM immigrants remain
understudied. A similar trend is observed among SGM individuals who are or have been involved
with the criminal justice system.

Aging
Age is a significant factor in health outcomes for all individuals. Vulnerability and susceptibility to var-
ious disorders and diseases can change across the lifespan, from in utero to old age. For example,
rapid mental and physical development occurs from birth to young adulthood for most individuals.
Factors affecting developmental processes—environmental factors, medical interventions, genetics,
and more—may influence health trajectories. Older people, by contrast, are more susceptible to
degenerative processes. Designing and performing research that utilizes a life course perspective is
crucial to improving our understanding of health outcomes and research considerations at various
stages of life, as well as for understanding how these may change across the lifespan.

SGM Subpopulations
Scientific inquiry into SGM health outcomes also should take into special consideration subpopulations
for whom research is lacking. These subpopulations may include intersex individuals or individuals
with differences or disorders of sex development (DSD), Two-Spirit people, transgender and gender-
expansive people, bisexual people, and individuals whose gender identity falls within the full spectrum
of gender. Additionally, an individual’s gender identity can develop in a variety of ways. Further
research is needed to understand how an individual’s innate sense of gender manifests, develops,
stabilizes, and/or changes over time.




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Relevant Research Frameworks
Several research strategies take individual identities and experiences into account and may be high-
ly beneficial if applied to SGM health research. Adopting a health equity framework, wherein each
person has an equal opportunity to be as healthy as possible, may be useful for simultaneously ad-
dressing the multiple determinants of health associated with individual identities.

The NIMHD Research Framework reflects an evolving conceptualization of factors relevant to the
understanding and promotion of minority health and to the understanding and reduction of health
disparities experienced by racial/ethnic minorities, persons of less privileged socioeconomic status,
underserved rural residents, and sexual and gender minorities. It emphasizes the genetic, biological,
environmental, social, political, and cultural influences on the health of individuals, communities, and
populations and their interactions with the health care system.

Trauma-informed research can shed light on the short- and long-term effects of traumatic experi-
ences on overall health. This is particularly important for SGM populations because they experience
higher levels of trauma than their non-SGM peers. Community and culturally grounded research can
facilitate the exploration and integration of environmental and cultural contexts into health research.
Strengths-based approaches—which leverage an individual’s personal strengths, capabilities, and
connections—can be used to provide individuals with tailored paths to optimal health from their pres-
ent circumstances. Regardless of research strategy, addressing ethical issues that may arise from
conducting SGM health research and assisting in creating policies to mitigate those issues and to
safeguard the integrity of the research itself are imperative.

Community-based participatory research (CBPR) represents an important strategy for SGM health
research, whereby research is conducted with the involvement and participation of relevant com-
munities to help guarantee that those affected by particular research questions have equitable rep-
resentation and influence in associated projects. Vast amounts of data are contained in electronic
health records (EHRs) and potentially could be leveraged to generate foundational population data
on SGM-relevant topics, including health disparities. Employing CBPR and EHR-derived or -related
research could provide novel information about SGM identity and health and facilitate targeted re-
search endeavors. As greater quantities of data are generated and data interoperability increases, big
data approaches may be ideal for most effectively and efficiently analyzing the resultant information.




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SCIENTIFIC THEMES AND
RESEARCH OPPORTUNITIES
The strategic planning process yielded several overarching scientific themes. These themes in-
clude clinical research, social and behavioral research, research in chronic diseases and comor-
bidities, and methods and measurement research. Each of these scientific themes is discussed in
further detail below.

    Scientific Theme 1: Clinical Research
The SGM community traditionally has been underrepresented in clinical research. This has resulted
in both a striking deficiency of data on the unique health issues of SGM populations and a lack of
tailored prevention strategies, interventions, and treatments to improve SGM health and well-being
specifically and to eliminate SGM health disparities. Better understanding and addressing the clinical
needs and outcomes of SGM individuals will require a concerted and transdisciplinary effort on the
part of stakeholders across the agency. Various opportunities have been identified that could help to
develop critical infrastructure and fill key knowledge gaps for SGMs in clinical settings.

One of the most important ways to enrich the knowledge base on SGM health is to ensure the
representation and collection of data on SGM populations in clinical trials. This has been reiterated
through language encouraging the inclusion of SGM populations in NIH-funded clinical projects in
the 21st Century Cures Act and in the Mid-Course Strategic Plan Review recommendations pre-
pared by the NIH SGM Research Working Group and endorsed by the Council of Councils. Ensuring
the recruitment and identification of SGM populations—through collection of sexual orientation, gen-
der identity, and intersex status—in clinical studies can help to ensure that SGM considerations and
problems can be distinguished and that SGM people can obtain maximal benefit from more clinical
results. Their inclusion in clinical studies is crucial in confronting SGM-specific health issues and dis-
parities. Efforts to involve SGMs in clinical projects should exhibit cultural competence and sensitivity
during all phases of engagement.

Increasing the enrollment of SGMs in clinical research will necessitate strengthening the capacity of
clinicians and clinical researchers to store biospecimens collected from SGM participants. With en-
hanced participation and sexual orientation and gender identity (SOGI) data collection, researchers
can better track health outcomes, develop interventions, and provide health care providers with the
tools they need to improve care for SGM communities. Data collection could be achieved through
the expansion of established biorepositories and biobanks for participants in SGM research projects.
In addition to housing physical samples, new or expanded data repositories may be necessary to
handle the data associated with increased SGM clinical trial participation.




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A dearth of clinical knowledge persists regarding numerous disorders, conditions, and other topics
pertinent to SGM health. For example, clinical outcomes for those with DSDs or who identify as in-
tersex are consistently recognized as understudied. Clinical areas of interest for DSD/intersex individ-
uals include determination of the appropriateness of treatments and long-term physical and mental
health outcomes post-treatment. SGM-tailored sexual and reproductive care, reproductive aging,
and pregnancy outcomes among SGM individuals have received increasing attention as potential
priority areas for SGM-oriented clinical research, as has promoting healthy sexuality among SGMs
through diverse means, including the development of sex education classes that discuss SGM-rele-
vant topics and delivery of appropriate services.

  Scientific Theme 2: Social and Behavioral Research
Social and behavioral phenomena at the individual, interpersonal, organizational, community, and
societal levels are garnering increased attention as significant contributors to the health status of
SGM populations. Further social and behavioral research is needed to strengthen our grasp of how
these phenomena interoperate among themselves and with other factors and, ultimately, exert their
effects on the health outcomes of SGM individuals.

Utilization of medical services is fundamental to health maintenance, improvement, and recovery for
all individuals. However, SGM populations often have distinct concerns when accessing these vital
services, and more research is required to elucidate and assuage the underlying causes. For exam-
ple, significant barriers to accessing health services exist for many tribal communities residing on
reservations, as well as SGM populations living in rural settings. Many possibilities exist for optimizing
the experience of SGM individuals who engage health services. Health services research employs a
multidisciplinary lens in investigating individual and health care characteristics to inform personal and
institutional decision-making processes about ideal care. Health services research could help ensure
that the needs of SGMs are duly considered and that SGMs can take full advantage of essential
health care. In addition, research on how to educate personnel at medical care facilities about SGM
health and well-being is central to the provision of appropriate and personalized health care and the
creation of a welcoming environment for SGM individuals.

Discrimination and stigma, both enacted and internal (e.g., internalized, perceived, or anticipated),
on the basis of sexual orientation and/or gender identity remain commonplace despite political and
social advances, and both can have a substantial negative impact on health outcomes. SGM people
face higher rates of multiple forms of violence, such as sexual assault, interpersonal violence, and
harassment. Some SGM communities, such as transgender women of color, experience dispropor-
tionate and alarming rates of violence, assault, and harassment. The presence of these stigmatizing
experiences and settings might contribute to disparities in mental health, substance use, and associ-
ated adverse outcomes among SGM individuals. SGMs are at significantly heightened risk for suicide
attempts and suicidality, and suicide prevention efforts have been acknowledged widely as crucial for
protecting the lives of SGM individuals. Substance use disorders tend to be more prevalent among




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SGM populations compared to non-SGMs. Major opportunities remain in the field of SGM health
disparities research, particularly related to discerning the causes and full impact of health disparities
and the creation of prevention and intervention strategies to alleviate them.

Experiences unique to the SGM community can have beneficial or adverse implications for long-term
health. For example, coming out can be a recurring event, with implications for the psychosocial de-
velopment and well-being of SGM people across diverse settings (e.g., family, workplace, faith-based
institutions). Family acceptance and support can play a primary role in whether and when the coming
out process occurs and in how the process affects the individual. Persons with a DSD and intersex in-
dividuals also may confront issues of disclosure. SGM individuals may navigate the spectrum of gender
transition–related processes at some point in their lives, which can have a profound and lasting impact
on physical and mental health outcomes. SGMs may be able to access a range of resources to assist
in negotiating these and other seminal events. Social contacts and networks and personal resilience
may fortify the perseverance of SGM individuals, but more research is needed to better understand
SGM developmental trajectories, including how SGMs process key experiences.

  Scientific Theme 3: Research in Chronic Diseases and Comorbidities
Chronic diseases and comorbidities are critical drivers of poor overall health in SGM populations, and
many SGMs are disparately affected compared to their non-SGM peers. Individual chronic diseases
and comorbid diseases, conditions, and disorders are particularly salient factors in the health and
well-being of aging SGM populations. Understanding the needs of older SGM adults, for example,
will require greater attention given increasing evidence that suggests their greater vulnerability to cer-
tain conditions. Increased and expanded research is needed to elucidate the full extent of the impact
of chronic diseases and comorbidities for SGM populations and subpopulations.

Alzheimer’s disease and related dementias (ADRD) are examples of chronic diseases that are import-
ant to investigate to advance the health and well-being of older SGMs, and little currently is known
about the risk of developing ADRD among this population. Cancer is one of the leading causes of
death in the United States. However, relatively little is known about the full impact of cancer specifi-
cally in SGM populations, although some evidence suggests that disparities do exist for certain types
of cancer. Obesity, diabetes, and heart disease are additional examples of highly prevalent diseases
that individually can have substantial adverse health effects but that also frequently are comorbidities
in individuals. Data indicate some SGMs are at an elevated risk of developing these diseases, but
further research is necessary to illuminate the individual effects of these diseases in SGMs and how
they may interact to shape health outcomes in SGM individuals.

HIV/AIDS remains a serious problem for SGM groups, even with the advent of efficacious methods
for prevention and treatment. Within the SGM community, key populations—including men who have
sex with men, transgender individuals, and SGM people of color—still face significant disparities in




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rates of HIV infection and viral suppression. Sexually transmitted infections, including hepatitis C,
also remain highly and differentially prevalent among SGM populations and necessitate more re-
search to fully address them.

 Scientific Theme 4: Methods and Measurement Research
Methods and measurement research remains a priority in SGM health research. Improved and tai-
lored sampling methodologies are required to thoroughly explore research questions on the health
and well-being of SGM populations. This begins with the development of novel measures and the
evaluation of existing measures of SGM status and related constructs, such as identity development
processes in the 21st century, coming out processes, and experiences of stigma and discrimination.
New and improved measures will be necessary to ascertain the most accurate and germane infor-
mation possible about SGM individuals. In addition, better understanding the role of generalizability
in SGM-focused research will be critical as the field of SGM research expands.

Numerous research opportunities are available that could greatly enhance methods and measures
used to assess health and its determinants in the SGM community. Standardization is needed for
questions used to capture SOGI information to make data more interoperable and comparable. Val-
idating measures across multiple SGM populations and in a variety of contexts also is important to
ensure their utility for each of the many groups under the SGM umbrella.


SERVE AS AN EFFICIENT AND EFFECTIVE
STEWARD OF PUBLIC RESOURCES
The SGMRO works to ensure stewardship across the NIH by increasing efficiencies related to SGM
health research, which includes identifying and eliminating redundancies in SGM-related activities
and funding through agencywide portfolio analyses. In addition, the SGMRO sponsors scientific
workshops of interest across NIH ICOs. These workshops identify high-priority research opportuni-
ties in a given SGM health-related area of inquiry and provide data that allow NIH colleagues to focus
on funding the highest-impact research within their portfolios. Additionally, the SGMRO serves as a
resource for the NIH community, allowing program officials to better integrate SGM-related informa-
tion into their activities without needing to become an expert in SGM health research.




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OPERATIONAL STRATEGIC GOAL AREAS
The SGMRO operational goals are organized into four areas that provide an overview of what the
Office plans to pursue to achieve its mission. The objectives listed under each goal offer greater con-
text for how the SGMRO will guide implementation of the goal areas across the NIH. The operational
goals leverage SGMRO staff expertise and build on SGM health–related research resources, tools,
and initiatives developed across the NIH.


                       Goal 1: Advance rigorous research on the health of SGM
                       populations in both the extramural and intramural research
                       communities

Advancing SGM health requires rigorous research to be conducted with a focus on SGM health.
Experts in the field of SGM health research agree that critical gaps exist in the published literature on
SGM health. Therefore, the objectives of this goal are to encourage the NIH to support research in a
wide range of scientific disciplines, where appropriate and feasible.

Objective 1:       Develop scientific workshops to identify SGM research opportunities.
Objective 2:       Encourage ICOs to set SGM health–specific and relevant research as a priority.
Objective 3:       Expand awareness of SGM-relevant research initiatives at the NIH.
Objective 4:       Increase grant support for SGM health–specific research.


                       Goal 2: Expand SGM health research by fostering partnerships
                       and collaborations with a strategic array of internal and external
                       stakeholders

Advancing SGM health research requires partnerships with the NIH ICOs and the extramural com-
munity, including patient and advocacy groups. By working with these organizations, the NIH can
build on current efforts and leverage resources to enhance SGM health research.

Objective 1: Increase communications and training with ICOs and external stakeholders.
Objective 2: Increase SGM expertise in NIH review panels and study sections.
Objective 3: Encourage cultural competency training opportunities on the specific characteristics
             of SGM health research for NIH-funded extramural and intramural clinical trainees
             and researchers.




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                  Goal 3: Foster a highly skilled and diverse workforce in
                  SGM health research


Advancing SGM health research requires a well-trained, diverse, and robust workforce. Building in-
terdisciplinary research careers in SGM health, with a focus on early career investigators, and sup-
porting SGM biomedical researchers will accelerate improved health care for SGM populations. The
objectives of this goal will provide opportunities to attract, retain, and advance SGM health research
careers and improve the workplace climate to increase diversity in the biomedical research workforce
at all career levels.

Objective 1: Develop resources and tools related to SGM health research for internal and exter-
             nal stakeholders.
Objective 2: Continue to conduct regional workshops focused on building capacity in
             SGM health research.
Objective 3: Develop a grant mechanism to support institutional training efforts.
Objective 4: Encourage the recruitment and retention of SGM researchers in the biomedical
             workforce.
Objective 5: Collaborate with NIH training and workforce offices on SGM diversity issues to ad-
             dress the NIH Workplace Climate and Harassment Survey results concerning SGM
             populations to create a more welcoming environment.



                  Goal 4: Encourage data collection related to SGM populations in
                  research and the biomedical research workforce


Advancing SGM health research and improving the health of SGM populations requires rigorously
collecting SOGI data in NIH-funded research and clinical trials, as well as leveraging relevant data
sources with partners, to expand the knowledge base of SGM health.

Objective 1: Encourage the expansion of SOGI data collection and subsequent analyses in
             health care and related settings through such mechanisms as surveys, national data
             sets, and administrative data collection.
Objective 2: Leverage existing data sets by engaging with ICOs and external organizations to
             collect SOGI data.
Objective 3: Enhance SOGI-related data resources and data sharing, ensuring data privacy and
             security.




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MANAGEMENT AND ACCOUNTABILITY
The NIH will track progress on achieving the goals enumerated in the strategic plan and share this
progress with pertinent stakeholders through multiple means. The annual SGM Research Portfolio
Analysis is used to quantitatively evaluate and characterize annual NIH expenditures on research
related to the health and well-being of SGM populations. The SGMRO also releases an annual
report that illustrates the scope of activities, programs, and initiatives related to SGM health and
research occurring at the NIH. The annual report is organized around the goal areas of the strategic
plan, so detailed information about the pursuit of each goal will be addressed therein. For the NIH
FY 2021–2025 Strategic Plan to Advance Research on the Health and Well-Being of Sexual and
Gender Minorities, a mid-course review will be conducted by the SGM Research Working Group of
the Council of Councils to evaluate progress on the goals of the plan and to provide recommenda-
tions for capitalizing on progress made, similar to the review that occurred in 2018.

In addition to official reports and reviews, the NIH will share information with and receive feedback
from stakeholders in the community more directly through several activities. The SGMRO plans to
hold listening sessions wherein researchers and representatives from SGM health and health advo-
cacy organizations are invited to share their viewpoints, concerns, suggestions, and priorities related
to SGM health, research, and related activities at the NIH. Information gathered from the first SGM
Health Research Listening Session was taken into consideration during the creation of this strategic
plan. In addition, the NIH and the SGMRO regularly deliver public presentations on current SGM
health research and related developments at the NIH.

In conclusion, the NIH is committed to its core mission of turning discovery into health for all Ameri-
cans, including those who identify as sexual and gender minorities. The SGMRO will remain steadfast
in the implementation of this strategic plan and will continue to serve proudly as the liaison between
the SGM research community and the NIH.




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  APPENDIX



SGMRO 2021–2025 STRATEGIC PLANNING TIMELINE
                                                                     Draft
                  Draft         Send out                                                                                                 Develop and release
                                                                   scientific
                strategic         survey          Analyze                                                                                   RFI on drafted
                                                                   themes &                Refine scientific themes &
                planning       (internal to        survey                                                                                 scientific themes &
                                                                  operational           operational goals with SGM RCC
               survey with         NIH)          responses                                                                               operational goals for
                                                                  goals with
                SGM RCC         (25 days)                                                                                                  public comment
                                                                  SGM RWG




2019
                  Jun              Jul            Aug                Sep                     Oct                     Nov                     Dec


       Develop and                                              Solicit
      release RFI on     Analyze and          Draft           comments
                                                                                 Solicit feedback                                                                            Officially release
    drafted scientific   incorporate     strategic plan    from SGM RCC,                                          Obtain NIH leadership approval for the
                                                                                 from Council of                                                                              FY 2021–2025
         themes &            RFI               for         SGM RWG, and                                                       Strategic Plan
                                                                                     Councils                                                                                 Strategic Plan
    operational goals     comments       FY 2021–2025         DPCPSI and
   for public comment                                       ICO leadership



2020
          Jan                Feb              Mar               Apr                  May                    Jun                    Jul                  Aug                      Sep

                                         SGM RCC = Sexual & Gender Minority Research Coordinating Committee
                                         SGM RWG = NIH Sexual & Gender Minority Research Working Group
                                         RFI = Request for Information
                                         DPCPSI = Division of Program Coordination, Planning, and Strategic Initiatives
                                         ICO = NIH Institutes, Centers, and Offices




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